
ORDER
Pursuant to Sixth Circuit I.O.P. 35(c), a majority of the Judges of this Court in regular active service have voted to grant the request of a member of this Court for rehearing of this case en banc,
“The effect of the granting of a hearing en banc shall be to vacate the previous opinion and judgment of this court, to stay the mandate and to restore the case on the docket sheet as a pending appeal.”
Accordingly, it is ORDERED, that the previous decision and judgment of this court is vacated, the mandate is stayed and this case is restored to the docket as a pending appeal.
It is further ORDERED that the parties file simultaneous supplemental briefs not later than Monday, May 6, 2002. Reargument will be scheduled for Wednesday, June 12, 2002, at 2:00 P.M. EST.
